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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

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In re:                                                       : Chapter 11
                                                             :
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IMERYS TALC AMERICA, INC., et al.,                           : Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x
                  NOTICE OF AGENDA OF MATTERS SCHEDULED
          FOR TELEPHONIC HEARING ON DECEMBER 8, 2020 AT 10:30 A.M. (ET)

         This hearing will be held telephonically and by video. All parties wishing to appear
           must do so telephonically by contacting COURTCALL, LLC at 866-582-6878 no
         later than Dec. 8 at 8:30 a.m. to sign up. Additionally, anyone wishing to appear by
          Zoom is invited to use the link below. All parties that will be arguing or testifying
          must appear by Zoom and CourtCall. Participants on CourtCall should dial into
            the call not later than 10 minutes prior to the start of the scheduled hearing to
                                       insure a proper connection.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING
               WILL BE MUTED AND THE ONLY AUDIO WILL BE THROUGH
                                   COURTCALL

                                          Topic: Imerys 19-10289
                        Time: Dec 8, 2020 10:30 AM Eastern Time (US and Canada)

                                          Join ZoomGov Meeting
                              https://debuscourts.zoomgov.com/j/1617816768

                                         Meeting ID: 161 781 6768
                                            Passcode: 324890

                                              Join by SIP
                                      1617816768@sip.zoomgov.com




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            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and
   Imerys Talc Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell,
   Georgia 30076.


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I.       CONTESTED MATTER GOING FORWARD:

         1.         Letter from Johnson & Johnson and Johnson & Johnson Consumer Inc. [Docket
                    No. 2394 – filed October 23, 2020]

                    Responses Received:

                    A.     Letter from Debtors [Docket No. 2444 – filed October 30, 2020]

                    B.     Letter from Imerys S.A. and Imerys USA, Inc. [Docket No. 2445 – filed
                           October 30, 2020]

                    C.     Letter from James L. Patton, Jr., Legal Representative for Future Talc
                           Personal Injury Claimants [Docket No. 2446 – filed October 30, 2020]

                    D.     Letter from the Tort Claimants’ Committee [Docket No. 2450 – filed
                           October 30, 2020]

                    E.     Letter from Employers Mutual Casualty Company [Docket No. 2463 –
                           filed November 3, 2020]

                    F.     Letter from Johnson & Johnson and Johnson & Johnson Consumer Inc.
                           [Docket No. 2583 – filed December 3, 2020]

                    Related Documents:

                    i.     Notice of Hearing on Discovery [Docket No. 2561 – filed November 24,
                           2020]

                    Status: The Court has scheduled a hearing to consider the discovery issues raised
                            in J&J’s letter to the Court, dated October 23, 2020, and the responses
                            filed with respect thereto.




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Dated: December 4, 2020                /s/ Marcos A. Ramos
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